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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, NORTHERN DIVISION

 

 

UNITED si“ATEs oF AMERICA, = § 3 32 § g @@B@§§
Plainciff, ; I N D 1 c T M E N T
vS. = vin is U.s.c. § 922(9)(3),
= PosssssioN 0F A FIREARM
JEFFREY D. TEMPLETON, = BY AN UNLAWFUL USER 0F
COLLETTE TEMPLETON, = on PERsoN ADDICTED To A

CONTROLLED SUBSTANCE
Defendants.

 

The Grand Jury Charges:

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(18 U.s.C. § 922(9)(3))

On or about December ll, 2001, in the Northern Division
of the District of Utah,

JEFFREY D. TEMPLETON
and COLLETTE TEMPLETON,

the defendants herein, being unlawful users of or addicted to
a Controlled substance as defined in 21 U.S.C- § 802, did
knowingly possess in and affecting interstate Commerce,

firearms and ammunition, namely the following:

 

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Winchester Model 52A, .22 Caliber rifle, SN 118921
Winchester Model 62A, .22 caliber rifle, SN 303194
Mossberg Model 835, .12 gauge shotgun, SN UM327877
Winchester Model 70, 30-06 rifle, SN 398489
Winchester Model 12, .12 gauge rifle SN 1412178

Benelli, S. PA., Model M3 Super 90, .12 gauge shotgun,
SN MlOZlBl

Mossberg Model 500ET, .410 caliber, SN G693411

Eastern Arms, Co. Model ATIS-PN2, .12 gauge shotgun,
SN 134547

Ruger Model 10-22, .22 caliber rifle, SN 233-30375
Browning Model BAR II, .300 caliber rifle, SN 107NW03420
Mossberg Model 500 A, .12 gauge shotgun, SN K495006

Springfield Armory Model Ml Gerrand, .30 caliber,
SN 2009137

Benelli, S.PA. Model Ml Super 90, .12 gauge shotgun,
SN M205734

Mossberg Model 500 E, .410 caliber shotgun, SN L999963
Winchester Model 70, 30#06, SN 302888

Heckler and Koch Model 91, .308 caliber rifle,
SN 011459

Winchester Model 61, .22 caliber rifle, SN 231811
Remington Arms Co. Model 582, .22 caliber, SN 1200601
Colt Model SP-l, .223 caliber, SN SP159708

COlt MOdel SP-l, .223 Caliber rifle, SN BDOOO352

Colt Model SP-l, .223 caliber, SN SL019936

Colt Model SP~l, .223 caliber rifle, SN MH013238

 

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Browning Model Unknown, .22 caliber rifle, SN 01430?2246
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Winchester Model Centinenial 66, 30-30, SN 76303

Winchester Model 94 AE, .44 caliber rifle, SN 6273779

Winchester Model 94, 30-30 rifle, SN 2346956

Benelli, S. PA. Model Ml Super 90, 12 gauge snotgun,
SN Ml481l5

Unknown Manufacturer Model FMAP “DM” Rosario, .762
caliber rifle, SN 02423

Browning Model A-Bolt, .338 caliber rifle, SN 497279YLS7
Winchester Model 70, .220 caliber, SN 306690

Winchester Model 50, .12 gauge shotgun, SN 142353
Mossberg Model 142-A, .22 caliber rifle, SN N/A
Winchester Model 63, .22 caliber rifle, SN 43804A

Barrett Firearms Mfg. Co. Model 95, .50 caliber rifle,
SN 565

Unknown Manufacturer Unknown Model, .50 caliber rifle,
SN NONE

Unknown Manufacturer Model 96, .50 caliber rifle, SN 115
Colt Government Model, .45 caliber, SN 3831206
Colt Model Officers ACP, .45 caliber, SN SF04295E

Para-Ordnance Mfg. Inc. Model 913e45, .45 caliber,
SN QG1788

Heckler and Koch Model PQS, .45 caliber, SN 403101
COlt Model Chalenger, .22 caliber, SN 66703-C
Ruger Model MK 11, .22 caliber, SN 219»68040

SIG Sauer, Arms,(SwiSs Industriel Gesellshaft)
Model P220, .45 caliber, SN G170322

 

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Colt Model Viper, .38 caliber, SN 95062M
Heckler and Koch Model P9S, .45 caliber, SN 404457

Freedom Arms Co. Model Field Grade, .454 caliber,
SN DF7091

SIG (Sauer, Arms, or Swiss Industriel Gesellshaft)
Model P229, .357 caliber, SN AD29066

Smith & Wesson Model 65-5, Lady Smith, .357 caliber,
SN BSK3328

Smith & Wesson Model 642, .38 caliber, SN BMA1215
Smith & Wesson Model 19-5, .357 caliber, SN ADS 3083
Browning Model N/A, .22 caliber, SN 36079P70

Heckler and Koch Model PQS, .45 caliber, SN 405701

Freedom Arms Co. Model Belt Buckle 22, .22 caliber,
SN A42ll2

Ruger Model Blackhawk, .357 caliber, SN 33#24831
Unknown Manufacturer Model 1873, .22 caliber, SN SA18304
Walther Model PPK/S, .380 caliber, SN 3065689

Colt Model Frontier Scout, .22 caliber, SN 54BGS

 

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and thousands of rounds of ammunition; all in violation of 18

U.s.c. § 922(§) (3).

A TRUE BlLL:

FOREPERSONVOF GRAN JURY

PAUL M. WARNER
UNITED STATES ATTORNEY

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BRETT E. L

Assistant United States Attorney

